
		
				IN RE FEE SCHEDULE FOR STATE BD. OF EXAMINERS OF CERTIFIED SHORTHAND REPORTERS2023 OK 63Decided: 06/05/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2023 OK 63, __ P.3d __

				

IN RE: FEE SCHEDULE FOR THE STATE BOARD OF EXAMINERS OF CERTIFIED SHORTHAND REPORTERS




ORDER


PURSUANT TO the provisions of 20 O.S. § 1506, the Court hereby approves and authorizes the attached Fee Schedule for the State Board of Examiners of Certified Shorthand Reporters. This schedule shall become effective June 9, 2023 and it shall supersede the Fee Schedule issued on April 8, 2019 by administrative order No. SCAD-2019-32 (2019 OK 19).

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 5th day of JUNE, 2023.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


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STATE BOARD OF EXAMINERS OF 
CERTIFIED SHORTHAND REPORTERS 

FEE SCHEDULE


	
		
			Examination Fee -- Oklahoma Resident
			&amp; Non-Resident
			(Exam parts may be taken separately)
			(Includes applicants for Temporary Certificate)
			Skills -- Testimony &amp; Proceedings (Q&amp;A)
			&nbsp; $60.00
		
		
			Skills -- Literary Materials
			&nbsp; $60.00
		
		
			Written Knowledge Test
			&nbsp; $30.00
		
		
			TOTAL FOR COMPLETE EXAM
			$150.00
		
		
			&nbsp;
			&nbsp;
		
		
			Application for Admission by Reciprocity
			
				Qualified applicants may be enrolled without taking skills examinations
				Fee includes one Oklahoma Written Knowledge Test and administrative costs of enrollment
			
			
			$150.00
		
		
			&nbsp;
		
		
			Annual Certificate Renewal Fee
			$30.00
		
		
			&nbsp;
			&nbsp;
			&nbsp;
		
		
			Delinquent Payment Fee
			
				Assessed for failure to renew certificate on or before February 15
			
			
			$100.00
		
		
			&nbsp;
			&nbsp;
			&nbsp;
		
		
			Continuing Education Penalty Fee
			
				Assessed for failure to obtain the requisite number of continuing education hours on or before December 31 of the year in which they are required
			
			
			$100.00
		
		
			&nbsp;
			&nbsp;
			&nbsp;
		
		
			Continuing Education Suspension Fee
			
				Charged to any court reporter whose certificate has been suspended for failure to earn the required number of continuing education hours, to submit a completed compliance report, and/or to pay any applicable continuing education penalty fee on or before February 15
			
			
			$100.00
		
		
			&nbsp;
			&nbsp;
			&nbsp;
		
		
			Retired Status Reinstatement Fee
			$100.00
		
		
			&nbsp;
			&nbsp;
			&nbsp;
		
	


&nbsp;


&nbsp;

STATE BOARD OF EXAMINERS OF 
CERTIFIED SHORTHAND REPORTERS 

FEE SCHEDULE


	
		
			Examination Fee -- Oklahoma Resident
			&amp; Non-Resident
			(Exam parts may be taken separately)
			(Includes applicants for Temporary Certificate)
			Skills -- Testimony &amp; Proceedings (Q&amp;A)
			$60.00
		
		
			Skills -- Literary Materials
			$60.00
		
		
			Written Knowledge Test
			$30.00
		
		
			TOTAL FOR COMPLETE EXAM
			$150.00
		
		
			&nbsp;
			&nbsp;
			&nbsp;
		
		
			Examination Fee -- 
			Non-Resident
			(Exam parts may be taken separately)
			Skills -- Testimony &amp; Proceedings (Q&amp;A)
			$85.00
		
		
			Skills -- Literary Materials
			$85.00
		
		
			
			Written Knowledge Test 
			
			$30.00
		
		
			TOTAL FOR COMPLETE EXAM
			$200.00
		
		
			&nbsp;
			&nbsp;
			&nbsp;
		
		
			Application for Admission by Reciprocity
			Qualified applicants may be enrolled without taking skills examinations
			Fee includes one Oklahoma Written Knowledge Test and administrative costs of enrollment
			$150.00
		
		
			&nbsp;
			&nbsp;
		
		
			Annual Certificate Renewal Fee
			$30.00
		
		
			&nbsp;
			&nbsp;
		
		
			Delinquent Payment Fee
			Assessed for failure to renew certificate on or before February 15
			$100.00
		
		
			&nbsp;
			&nbsp;
		
		
			Continuing Education Penalty Fee
			Assessed for failure to obtain the requisite number of continuing education hours on or before December 31 of the year in which they are required
			$100.00
		
		
			&nbsp;
			&nbsp;
		
		
			Continuing Education Suspension Fee
			Charged to any court reporter whose certificate has been suspended for failure to earn the required number of continuing education hours, to submit a completed compliance report, and/or to pay any applicable continuing education penalty fee on or before February 15
			$100.00
		
		
			&nbsp;
			&nbsp;
		
		
			Retired Status Reinstatement Fee
			$100.00
		
		
			&nbsp;
			&nbsp;
			&nbsp;
		
	


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